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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

       Plaintiff,

v.

CORA WILLIAMS,

       Defendant.                                            Case No. 06-30070-3-DRH




                                MEMORANDUM & ORDER


HERNDON, Chief Judge:


               Defendant Cora Williams has filed a pro se Motion for Retroactive

Application of Sentencing Guidelines to Crack Cocaine Offense, pursuant to 18

U.S.C. § 3582 (Doc. 214). Administrative Order No. 1021 was issued in this case

(Doc. 215) and the Office of the Federal Public Defender (“FPD”) for the Southern

District of Illinois was appointed to represent Defendant in this matter for the

purposes of determining whether a reduction of sentence pursuant to 18 U.S.C. §



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          Administrative Order No. 102, dated December 19, 2007, instructs the Clerk of the
Court to appoint the Federal Public Defenders Office to represent each defendant who files a
motion for reduction of sentence based upon the amended advisory sentencing guidelines
regarding the disparity between sentences for convictions of powder cocaine offenses versus crack
cocaine offenses (see United States Sentencing Guidelines § 2D1.1).

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3582 was appropriate. Protocol implemented by the FPD requires a review of

Defendant’s case to determine eligibility for a sentence reduction and then to either

file an amended petition requesting said reduction if Defendant is determined to be

eligible or else a motion to withdraw from representation if Defendant is found

ineligible.

              Also before the Court is the FPD’s Motion to Withdraw (Doc. 226) on the

basis that the FPD can make no non-frivolous arguments in support of a reduction

pursuant to 18 U.S.C. § 3582(c). See Anders v. California, 386 U.S. 738, 744

(1967). The Court allowed Defendant time to file a response. To date, no response

has been filed. The FPD has determined, after review of Defendant’s case, that she

is ineligible for a § 3582 sentence reduction. Amendments 706 and 711 amended

U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base offense

levels associated with various amounts of crack cocaine.            The Sentencing

Commission amended U.S.S.G. § 2D1.1(c) intending to alter the disparity in

sentences involving crack cocaine and sentences involving powder cocaine.

Defendant, however, was sentenced on February 8, 2008 (Doc. 181), using the 2007

Sentencing Guidelines Manual and therefore the amended crack cocaine guideline

was already applied so that she received a sentence of 84 months’ imprisonment

(Docs. 181 & 185).

              Therefore, the Court lacks subject matter jurisdiction to consider her

reduction request. See Forman, 553 F.3d at 588; Lawrence, 535 F.3d at 637-



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38. The Court therefore GRANTS counsel’s Motion to Withdraw (Doc. 226) and

DISMISSES for lack of jurisdiction Defendant’s pro se Motion for Retroactive

Application of Sentencing Guidelines to Crack Cocaine Offense, pursuant to 18

U.S.C. § 3582 (Doc. 214). The Clerk is DIRECTED to mail a copy of this Order via

U.S. mail to defendant Cora Williams, #07631-025, FCI Greenville, Inmate

Mail/Parcels, P.O. Box 5000, Greenville, IL 62246.2

               IT IS SO ORDERED.

               Signed this 14th day of April, 2010.



                                                      /s/ DavidRHer|do|
                                                     Chief Judge
                                                     United States District Court




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          The docket indicates that Defendant is housed at FCI Hazelton. However, the docket also
indicates that mail sent to Defendant at this location was returned as undeliverable (Doc. 228).
The Court notes that the BOP’s inmate locator webpage shows that Defendant is now being housed
at FCI Greenville, and thus, it lists Defendant’s new mailing address. The Court additionally notes
that Defendant, as a pro se filer, remains under an obligation to inform the Court of any and all
address changes, otherwise, she cannot complain when she is not properly served with Court
filings. The Court is not under an obligation to research Defendant’s current location – it has only
done so this time as a courtesy.

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